                  IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA


 UNITED STATES OF AMERICA,

                        Plaintiff,

                   v.

 JOVANTE DEVON MCCORD,                     Case No. 3:21-cr-00035-SLG-MMS

                        Defendant.


       ORDER RE FINAL REPORT AND RECOMMENDATION OF THE
           MAGISTRATE JUDGE UPON A PLEA OF GUILTY

      A plea agreement was filed in this case at Docket 73. Pursuant to Rule 11

of the Federal Rules of Criminal Procedure, this matter was referred to the

Honorable Magistrate Judge Matthew M. Scoble by the District Court, with the

written and oral consents of Defendant, counsel for Defendant, and counsel for the

United States. A proposed change of plea hearing was held before the magistrate

judge at which Defendant entered a guilty plea to Count 1 of the Indictment, which

charges a violation of Title 18, United States Code, Section 1951(a) – Interference

with Commerce by Robbery; and Count 3 of the Indictment, which charges

violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2) – Felon

in Possession of a Firearm; and admission to the Criminal Forfeiture Allegation.

      Judge Scoble issued a Final Report and Recommendation at Docket 93, in

which he recommended that the District Court accept Defendant’s plea of guilty to




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Counts 1 and 3 of the Indictment.       No objections to the Final Report and

Recommendation have been filed.

      The matter is now before this Court pursuant to 28 U.S.C. § 636(b)(1). The

Court has reviewed the Final Report and Recommendation and adopts it.

Accordingly, IT IS ORDERED that the Court ACCEPTS Defendant’s plea of guilty

to Count 1 of the Indictment – Interference with Commerce by Robbery; and Count

3 of the Indictment – Felon in Possession of a Firearm and Defendant is adjudged

GUILTY of Counts 1 and 3. An Imposition of Sentence hearing is scheduled for

April 8, 2022, at 9:30 a.m. in Anchorage Courtroom 3.

      DATED this 8th day of March, 2022, at Anchorage, Alaska.

                                               /s/ Sharon L. Gleason
                                               UNITED STATES DISTRICT JUDGE




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